                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                         )
                                                   )
                       Plaintiff,                  )
                                                   )
 v.                                                )            No. 3:05-CR-97
                                                   )            (JARVIS/GUYTON)
 HEATHER NATASHA WHITT,                            )
                                                   )
                       Defendant.                  )
                                                   )


                                MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 district court as may be appropriate. This case is before the Court on the following motions:

                (1) Motion To Suppress filed by the defendant [Doc. 18]; and

                (2) Government’s Motion For Additional Time [Doc. 21];


 The defendant entered a guilty plea before United States District Judge James H. Jarvis on

 October 24, 2005. [See Doc. 28]. Accordingly, the pending motions [Docs. 18 and 21] are

 DENIED as moot.

                IT IS SO ORDERED.

                                                   ENTER:


                                                         s/ H. Bruce Guyton
                                                   United States Magistrate Judge




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